      Case 23-30748-mvl11                Doc 10     Filed 04/28/23 Entered 04/28/23 10:27:06        Desc Main
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                                               STANFORD SONOMA
                                       Statement of Cash Flows
                                         Jan 1, 2022 through Dec 31, 2022


(In Dollars)                                                                                2022
Cash flows from operating activities
  Net income (loss)                                                                (1,736,555.57)
  Adjustments to reconcile net income (loss) to net cash from operations:
     Depreciation                                                                     94,583.04
      (Increase) decrease in accounts receivable                                   (1,101,978.50)
      (Increase) decrease in inventory                                                82,079.42
      (Increase) decrease in other non-current assets                                  1,365.69
      Increase (decrease) in accounts payable                                      1,570,675.56
      Increase (decrease) in payroll payable                                         154,803.36
      Increase (decrease) in sales taxes payable                                      15,871.65
      Increase (decrease) in current deferred tax liabilities                        (94,652.00)
      Increase (decrease) in other current liabilities                             1,023,972.42
Net cash from (used in) operating activities                                       1,746,720.64

Cash flows from investing activities
  Purchase of investment securities                                                         0.00
  Proceeds from sale of investment securities                                               0.00
  Purchase of property, plant and equipment                                                 0.00
  Proceeds from sale of property, plant and equipment                                       0.00
  Purchase of intangible assets                                                             0.00
  Proceeds from sale of intangible assets                                                   0.00
Net cash from (used in) investing activities                                                0.00

Cash flows from financing activities
  Proceeds from issue of long-term debt                                                    0.00
  Retirement of long-term debt                                                       (16,502.59)
  Net borrowings                                                                           0.00
  Dividends paid                                                                           0.00
Net cash from (used in) financing activities                                         (16,502.59)

Effects of exchange rate changes on cash and cash equivalents                               0.00
Net increase (decrease) in cash and cash equivalents                                   (6,337.52)
Cash and cash equivalents at beginning of period                                        6,444.74
Cash and cash equivalents at end of period                                               107.22
